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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

UNITED STATES OF AMERICA                          §
                                                  §          4:20-CR-412-01
      versus                                      §
                                                  §     JUDGE KEITH ELLISON
IBRAHEEM AL BAYATI                                §

                    WAIVER OF APPEARANCE AT ARRAIGNMENT

TO THE HONORABLE KEITH ELLISON:

       Ibraheem Al Bayati asks to waive his appearance for arraignment on the indictment, and

shows the following in support of this request:

1.     Al Bayati is charged with two counts of making threats in an indictment filed on September

9, 2020. (Docket entry 1).

2.     Federal Rule of Criminal Procedure 10(b) provides for a waiver of appearance at

arraignment:

       (b) Waiving Appearance. A defendant need not be present for the arraignment if:

       (1) the defendant has been charged by indictment or misdemeanor information;

       (2) the defendant, in a written waiver signed by both the defendant and defense
       counsel, has waived appearance and has affirmed that the defendant received a copy
       of the indictment or information and that the plea is not guilty; and

       (3) the court accepts the waiver.

3.     Al Bayati’s executed waiver is attached to this pleading.



                                                      Respectfully submitted,

                                                      /s/ David Adler
                                                      ____________________
                                                      David Adler
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                        CERTIFICATE OF SERVICE

This motion was served upon the government via e-mail on September 11, 2020.


                                          /s/ David Adler
                                          ____________________
                                          David Adler
